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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION



SFA SYSTEMS, LLC ,
                                                         Case No. 6:09-cv-00340-LED
                       Plaintiff,
vs.                                                      JURY TRIAL DEMANDED

1-800 FLOWERS.COM, INC., ET AL.

                       Defendants.


SFA SYSTEMS, LLC ,
                                                         Case No. 6:11-cv-00399-LED
                       Plaintiff,
vs.                                                      JURY TRIAL DEMANDED

BARNES & NOBLE, INC., ET AL.

                       Defendants.


                   PATENT RULE 4-3 JOINT CLAIM CONSTRUCTION
                         AND PRE-HEARING STATEMENT


       Plaintiff SFA Systems, LLC (“SFA” or “Plaintiff”) has asserted that Defendant Newegg

Inc. (“Newegg” or “Defendant”) infringe the following claims (“Asserted Claims”) of the

patents-in-suit:

       U.S. Patent No. 6,067,525: 1-4, 6, 20, 24, 25 and 40; and

       U.S. Patent No. 7,941,341: 1, 3, 4, 6, 13, 15, 19, 27 and 32.

       Pursuant to Patent Rule (“P.R.”) 4-3 and the Court’s December 14, 2011 Amended

Docket Control Order (Dkt. No. 390), the parties submit this Joint Claim Construction and Pre-

hearing Statement with respect to the patents-in-suit.



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Agreed Constructions

         Regarding P.R. 4-3(a), the parties have agreed on the construction of the following claim

terms:

     CLAIM TERM                REPRESENTATIVE                   AGREED CLAIM TERM
                                   CLAIMS                         CONSTRUCTION

event . . . in the sales       ‘341: 1, 13, 27, 32       a real-life action or inaction that occurs in
process / event occurring                                the sales process
in the sales process



Disputed Claim Terms

         Regarding P.R. 4-3(b), attached as Exhibit A is a chart setting forth the disputed claim

terms, phrases and clauses proposed by Newegg for construction, the construction of each

disputed claim term, phrase and clause, and the identification of exemplary supporting intrinsic

and extrinsic evidence for each disputed claim term, phrase and clause. Exhibit B includes all

identified extrinsic evidence besides citations to prior claim construction rulings by the Court.

To the extent additional evidence is discovered by the parties, the parties expressly reserve the

right to rely on such evidence for purposes of claim construction.

         Pursuant to P.R. 4-2(c), the parties met and conferred via telephone on August 7 and 10,

2012 in attempt to reach agreement on these disputed terms. Newegg explained its contention

that the proposed claim term definitions reflect the meaning a person having ordinary skill in the

art would attribute to the Asserted Claims in view of, among other things, the specification and

prosecution history. Newegg invited SFA to propose alternative language with respect to the

disputed terms, or explain to Newegg why its definitions are incorrect or otherwise unacceptable

to SFA. SFA contends that terms identical to or closely related to terms previously construed in

the ’525 patent are subsumed by the previous constructions. SFA contends that all other terms


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not previously construed in the ’525 patent need no further construction, but if construed, their

plain and ordinary meaning should govern.           SFA indicated that it will not agree to any

definitions unless those definitions go no further than to incorporate previously construed terms

with respect to the '525 patent into the definitions--e.g., construing “time with customer

[subsystem]” as “time with customer [system that is part of a larger computer implemented sales

system].” See Dkt. No. 333, at 23 (construing “plurality of subsystems”).

Claim Construction Hearing

       Regarding P.R.4-3(c), the parties anticipate 4 hours will be sufficient for the Claim

Construction Hearing.

Witnesses

       Regarding P.R. 4-3(d), the parties do not intend to call any witnesses.

Other Issues

       Regarding P.R. 4-3(e), Plaintiff and Defendants are not aware of any other issues at this

time that might appropriately be taken up at a pre-hearing conference prior to the Claim

Construction Hearing.




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Dated: August 16, 2012                           Respectfully submitted,



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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court’s

CM/ECF system per Local Rule CV-5(a)(3) on August 16, 2012.



                                                    s/ Anthony W. Brooks
                                                    Attorney for Defendant Newegg Inc.




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                           EXHIBIT A
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Represent           Claim Term
                                          Plaintiff’s Proposed Definition           Defendant’s Proposed Definition and Evidence
  ative
                                                   and Evidence
 Claims
‘341: 1, 27   automated sales system /   No construction for this term is          computer system used to guide a salesperson or
              computer implemented       needed. If construed, it should be        guide content to a salesperson automatically during
              sales system               given its plain and ordinary              multiple phases of a sales process
                                         meaning.
                                                                                   Defendant’s Evidence
                                         Intrinsic Evidence:
                                                                                   Extrinsic Evidence:
                                         ’525 patent: Col. 1, ln. 10 to Col. 2,    Jerome Johnson Depo. Tr. (6.10.08) at 175, 180,
                                         ln. 16; Col. 3, ln. 60-64; Col. 4, lns.   246-247.
                                         12-22; Col. 4, lns. 52-57; Col. 5,
                                         lns. 7-12; Col. 5, lns. 31-34; Col. 5,    SFA’s Opposition to Motion for Summary
                                         lns. 60-64; Col. 5, ln. 65 to Col. 6,     Judgment of Invalidity (Case No. 6:07-cv-067-
                                         ln. 2; Col. 19, lns. 35-47; FIG. 1;       LED), ECF No. 269
                                         FIGS. 21A-21E.
                                                                                   Intrinsic Evidence:
                                         ’341 patent: Col. 2, ln. 46, Col. 6,      ‘341 Patent
                                         ln. 41; Col. 7, ln. 50 to Col. 11, 67;    Col 8:11-55; Col. 7, Line 41 – Col. 8, Line 42; Col.
                                         Col. 23, ln. 5 to Col. 25, ln. 10;        10, Lines 11-32
                                         Col. 28, ln. 37 to Col. 29, ln. 36;
                                         Col. 30, ln. 20 to Col. 31, ln. 20;
                                         Col. 32, ln. 65 to Col. 34, ln. 55;
                                         Col. 36, ln. 12 to Col. 38, ln. 62;
                                         FIGS. 1-10, 12, 15A-15C, 18, 21A-
                                         21E.

                                         Extrinsic Evidence:

                                         SFA Systems v. 1-800-FLOWERS,


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Represent           Claim Term
                                          Plaintiff’s Proposed Definition         Defendant’s Proposed Definition and Evidence
  ative
                                                   and Evidence
 Claims
                                         Inc., No. 6:09-CV-340, Docket No.
                                         406 (E.D. Tex. May 30, 2012)
                                         (Order [Adopting and Clarifying
                                         Memorandum Opinion and Order
                                         re Claim Construction]), SFA
                                         Systems v. 1-800-FLOWERS, Inc.,
                                         No. 6:09-CV-340, Docket No. 333
                                         (E.D. Tex. Aug. 8, 2011)
                                         (Memorandum Opinion and Order
                                         [re Claim Construction]) and SFA
                                         Systems v. BigMachines, Inc., No.
                                         6:10-CV-300, Docket No. 194
                                         (E.D. Tex. Aug. 8, 2011)
                                         (Memorandum Opinions and Order
                                         [re Claim Construction]),
                                         hereinafter, “the Claim
                                         Construction Orders.”

‘341: 1,27   integrating into a single   The Court has already construed         combining [tools used by a salesperson] into a
             system [tools used by a     the term “sales process.”               single system to pass data from one tool to another
             salesperson]                Defendant’s proposed term is            tool
                                         subsumed within and/or does not
                                         substantially differ from the term      Defendant’s Evidence
                                         previously considered by the Court.
                                         Thus, the proposed term should be       Extrinsic Evidence:
                                         given its prior construction and no     Jerome Johnson Dep. Tr. (6.10.08) at 227:3-25
                                         further construction for this term is
                                         needed.                                 Intrinsic Evidence:
                                                                                 ‘341 Patent
                                         In light of the Court’s prior           Col 1:35-43; Col. 7, Line 41 – Col. 8, Line 42; Col.


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Represent          Claim Term
                                           Plaintiff’s Proposed Definition           Defendant’s Proposed Definition and Evidence
  ative
                                                    and Evidence
 Claims
                                          construction, no further                  10, Lines 11-32
                                          construction for this term is
                                          needed. If construed, any word in
                                          the proposed term not previously
                                          construed should be given its plain
                                          and ordinary meaning.

                                          Intrinsic Evidence:

                                          ’525 patent: Col. 4, lns. 44-51; Col.
                                          5, ln. 31 to Col. 6, ln. 63; Col. 9,
                                          lns. 16-25; Col. 15, lns. 4-16; Col.
                                          9, ln. 39 to Col. 10, ln. 46; FIGS. 1,
                                          2, 4

                                          ’341 patent: Col. 3, ln. 53 to Col. 4,
                                          ln. 3; Col. 8, lns. 35-42; Col. 12, ln.
                                          61 to Col. 13, ln. 2; Col. 18, lns.
                                          36-48; FIGS. 1, 2, 4.

                                          Extrinsic Evidence:

                                          The Claim Construction Orders.
‘341: 1     tools used by a salesperson   No construction for this term is          distinct automated computer systems that are
                                          needed. If construed, it should be        constructed by examining a particular sales event to
                                          given its plain and ordinary              assist a salesperson confronted by the particular
                                          meaning.                                  event

                                                                                    Defendant’s Evidence



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Represent          Claim Term
                                           Plaintiff’s Proposed Definition        Defendant’s Proposed Definition and Evidence
  ative
                                                    and Evidence
 Claims
                                                                                 Extrinsic Evidence:
                                                                                 Jerome Johnson Dep. Tr. (6.10.08) at 227:3-25.

                                                                                 SFA’s Opposition to Motion for Summary
                                                                                 Judgment of Invalidity (Case No. 6:07-cv-067-
                                                                                 LED), ECF No. 269

                                                                                 Intrinsic Evidence:
                                                                                 ‘341 Patent
                                                                                 Col 1:35-43; Col. 7, Line 41 – Col. 8, Line 42; Col.
                                                                                 10, Lines 11-32




‘341: 1     [plurality of subsystems] of The Court has already construed         [plurality of subsystems] executing on a single
            a computer                   the term “plurality of subsystems.”     portable computer
                                         Defendant’s proposed term is
                                         subsumed within and/or does not         Defendant’s Evidence
                                         substantially differ from the term
                                         previously considered by the Court.     Intrinsic Evidence:
                                         Thus, the proposed term should be       ‘341 Patent
                                         given its prior construction and no     Col. 13, Lines 50-52; Col. 13, Line 66 – Col. 14,
                                         further construction for this term is   Line 1
                                         needed.

                                          With respect to “of a computer,” no
                                          construction is needed. If
                                          construed, this term should be


                                                               10
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Represent         Claim Term
                                      Plaintiff’s Proposed Definition           Defendant’s Proposed Definition and Evidence
  ative
                                               and Evidence
 Claims
                                     given its plain and ordinary
                                     meaning.

                                     Intrinsic Evidence:

                                     ’525 patent: Col. 2, lns. 21-43; Col.
                                     8, lns. 34-44; Col. 18, lns. 37-54;
                                     Col. 19, lns. 15-25; Col. 33, ln. 60
                                     to Col. 34, ln. 67; FIGS. 6, 8, 22

                                     ’341 patent: Col. 3, ln. 53 to Col. 6,
                                     ln. 50; Col. 7, ln. 50 to Col. 8, ln.
                                     10; Col. 12, lns. 37-42; Col. 13, lns.
                                     3-63; Col. 17, lns. 4-19; Col. 17,
                                     lns. 55-63; Col. 27, ln. 58 to Col.
                                     28, ln. 6; Col. 28, ln. 37 to Col. 30,
                                     ln. 19; Col. 32, ln. 65 to Col. 33, ln.
                                     7; Col. 33, lns. 36-46; FIGS. 1, 2,
                                     4, 10A-B, 12-14, 18

                                     Extrinsic Evidence:

                                     The Claim Construction Orders.

‘341: 13,   a computer arrangement   No construction for this term is          a single processor connected to a number of
32                                   needed. If construed, it should be        individual terminals
                                     given its plain and ordinary
                                     meaning.                                  Defendant’s Evidence

                                                                               Intrinsic Evidence:


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Represent           Claim Term
                                     Plaintiff’s Proposed Definition          Defendant’s Proposed Definition and Evidence
  ative
                                              and Evidence
 Claims
                                                                             ‘341 Patent
                                                                             Col. 13, Lines 50-52; Col. 13, Lines 57-62

‘341: 1,     sales process          The Court has already construed          a real world process of selling goods or services,
13, 27, 32                          the term “sales process.”                including two or more phases such as lead
                                    Defendants’ proposed term is             generation, time with customer, order management,
                                    subsumed within and/or does not          and customer retention
                                    substantially differ from the term
                                    previously considered by the Court.      Defendant’s Evidence
                                    Thus, the proposed term should be
                                    given its prior construction:            Extrinsic Evidence:
                                    a process of selling goods or            American Heritage Dictionary, 3rd Ed. 1997, P.
                                    services, including two or more          1203 (sales: “activities involved in selling goods or
                                    phases such as lead generation,          services”).
                                    time with customer, order
                                    management, and customer                 Intrinsic Evidence:
                                    retention.                               ‘341 Patent
                                                                             Col 1:35-43; Col. 7, Line 41 – Col. 8, Line 42; Col.
                                    Intrinsic Evidence:                      10, Lines 11-32

                                    ’525 patent: Col. 1, ln 10 to Col. 2,
                                    ln. 16; Col. 3, ln 60-64; Col. 4, ln
                                    12-22; Col. 4, ln 52-57; Col. 5, ln
                                    7-12; Col. 5, ln 31-34; Col. 5, ln
                                    60-64; Col. 5, ln 65 to Col. 6, ln 2;
                                    Col. 19, ln 35-47; FIG. 1; FIGS.
                                    21A-21E.

                                    ’341 patent: Col. 2, ln 46, Col. 6, ln
                                    41; Col. 7, ln 50 to Col. 11, 67;


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Represent           Claim Term
                                     Plaintiff’s Proposed Definition         Defendant’s Proposed Definition and Evidence
  ative
                                              and Evidence
 Claims
                                    Col. 23, ln 5 to Col. 25, ln 10; Col.
                                    28, ln 37 to Col. 29, ln 36; Col. 30,
                                    ln 20 to Col. 31, ln 20; Col. 32, ln
                                    65 to Col. 34, ln 55; Col. 36, ln 12
                                    to Col. 38, ln 62; FIGS. 1-10, 12,
                                    15A-15C, 18, 21A-21E.

                                    Extrinsic Evidence:

                                    The Claim Construction Orders.


‘341: 1, 27   event manager         The Court has already construed         an inference engine that is functionally separate
                                    the term “event manager.”               from the subsystems
                                    Defendants’ proposed term is
                                    subsumed within and/or does not         Defendant’s Evidence
                                    substantially differ from the term
                                    previously considered by the Court.     Extrinsic Evidence:
                                    “Event manager” should be given         Johnson Dep. Tr. (6.10.08) at 223:24-227:25.
                                    its prior construction: hardware and
                                    or software that is within a            Intrinsic Evidence:
                                    computer implemented sales              Figs. 2-6, 16, 19, 20, 21A-E, 22
                                    system.
                                                                            ‘525 Patent
                                    In light of the Court’s prior           1:5-47; 1:62-2:18; 2:21-54;
                                    construction, no further                3:36-37; 3:43-44; 3:51-59; 4:44-51; 5:4-12; 5:40-
                                    construction for this term is           43; 5:60-
                                    needed.                                 64; 6:23-25; 7:15-18; 7:58-8:21; 8:22-58; 9:16-24;
                                                                            10:35-
                                    Intrinsic Evidence:                     38; 11:20-37; 12:58-65; 15:4-16; 16:18-20; 17:26-


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Represent           Claim Term
                                         Plaintiff’s Proposed Definition          Defendant’s Proposed Definition and Evidence
  ative
                                                  and Evidence
 Claims
                                                                                 37; 18:37-
                                        ’525 patent: Col. 8, ln 22 to Col. 9,    54; 19:15-25; 19:26-34; 19:35-47; 19:61-20:7;
                                        ln 24; Col. 11, ln 20-37; Col. 11, ln    21:25-29;
                                        58-63; Col. 13, ln 24-34; Col. 15,       22:15-18; 26:36-38; 27:9-24; 27:41-62; 28:37-
                                        ln 4-16; Col. 18, ln 37-54; Col. 19,     29:35; 30:13-
                                        ln 15-47; Col. 21, ln 66 to Col. 22,     31:50; 32:13-33:30; 33:31-34:67; 35:44-49.
                                        ln 18; Col. 24, ln 15-25; Col. 25, ln
                                        6-15; Col. 26, ln 54 to Col. 27, ln 2;   Prosecution History
                                        Col. 27, ln 3-62; Col. 28, ln 37-57;     ‘525 Patent, 12-10-97 Amendment (e.g., pp. 15-16)
                                        Col. 28, ln 60 to Col. 29, ln 63;        ‘525 Patent, 07-14-98 Amendment (e.g., pp. 1-7)
                                        Col. 30, ln 24 to Col. 31, ln 44;        ‘525 Patent, 10-25-99 Amendment (e.g., pp. 2-5)
                                        Col. 32, ln 13 to Col. 33, ln 30;        09/566,872 App., 01-13-03 Terminal Disclaimer
                                        FIGS. 2-9, 10A, 10B, 11-14, 19           09/566,872 App., 08-17-05 Amendment (e.g., p. 7)
                                                                                 09/566,872 App., 09-15-06 Amendment (e.g., pp.
                                        Extrinsic Evidence:                      7-8)

                                        The Claim Construction Orders.

‘341: 1,     detecting/detect one or    No construction for this term is detecting one or more changes in information
13, 27, 32   more changes in            needed. If construed, it should be concerning an event that exists in the system
             information regarding/of   given its plain and ordinary
             an event                   meaning.                           Defendant’s Evidence

                                                                                 Intrinsic Evidence:
                                                                                 ‘341 Patent
                                                                                 39:6-7; 41: 52-53

‘341: 13,    automatically detecting    No construction for this term is detecting without human intervention
32                                      needed. If construed, it should be
                                        given its plain and ordinary Defendant’s Evidence


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Represent            Claim Term
                                           Plaintiff’s Proposed Definition         Defendant’s Proposed Definition and Evidence
  ative
                                                    and Evidence
 Claims
                                          meaning.
                                                                                  Extrinsic Evidence:
                                                                                  Joint Claim Construction and Prehearing Statement
                                                                                  (Case 6:09-cv-00340-LED), Dkt. No. 247.


                                                                                  Joint Claim Construction Chart Pursuant to PR 4-
                                                                                  5(d) provided to the Court, April 1, 2011



‘341; 1,     automatically                No construction for this term is initiating/initiate without human intervention
13, 27, 32   initiating/initiate          needed. If construed, it should be
                                          given its plain and ordinary Defendant’s Evidence
                                          meaning.
                                                                             Extrinsic Evidence:
                                                                             Joint Claim Construction and Prehearing Statement
                                                                             (Case 6:09-cv-00340-LED), Dkt. No. 247.

                                                                                  Joint Claim Construction Chart Pursuant to PR 4-
                                                                                  5(d) provided to the Court, April 1, 2011

‘341: 1,     to facilitate a new action   The Court has already determined        to assist the occurrence of an additional event in the
13, 27, 32   based on the event           that the phrases “a computer            sales process
                                          implemented sales system used to
                                          facilitate a sales process, the         Defendant’s Evidence
                                          system comprising” and
                                          “facilitating a sales process using a   Intrinsic Evidence:
                                          computer arrangement” require no        ‘341 Patent
                                          construction. Defendants’ proposed      Col. 36, Line 65 – Col. 38 Line 20


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Represent      Claim Term
                                  Plaintiff’s Proposed Definition        Defendant’s Proposed Definition and Evidence
  ative
                                           and Evidence
 Claims
                                 term is subsumed within and/or
                                 does not substantially differ from
                                 the terms previously considered by
                                 the Court. In light of the Court’s
                                 prior determination regarding the
                                 terms “a computer implemented
                                 sales system used to facilitate a
                                 sales process, the system
                                 comprising” and “facilitating a
                                 sales process using a computer
                                 arrangement,” no further
                                 construction for this proposed term
                                 is needed. If construed, any word
                                 in the proposed term not previously
                                 construed should be given its plain
                                 and ordinary meaning.

                                 Intrinsic Evidence:

                                 ’525 patent: Abstract; Col. 1, ln 5-
                                 9; Col. 1, ln 10 to Col. 2, ln. 16;
                                 Col. 2, ln 21-25; Col. 3, ln 60-64;
                                 Col. 4, ln 12-22; Col. 4, ln 52-57;
                                 Col. 5, ln 7-12; Col. 5, ln 31-34;
                                 Col. 5, ln 60-64; Col. 5, ln 65 to
                                 Col. 6, ln 2; Col. 19, ln 35-47; FIG.
                                 1; FIGS. 21A-21E.

                                 ’341 patent: Abstract; Col. 1, ln 28-
                                 32; Col. 1, ln 36 to Col. 2, ln. 39;


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Represent           Claim Term
                                           Plaintiff’s Proposed Definition          Defendant’s Proposed Definition and Evidence
  ative
                                                    and Evidence
 Claims
                                          Col. 3, ln 53 to Col. 4, ln 3; Col. 4,
                                          ln 64 to Col. 5, ln 15; Col. 10, ln 1
                                          to Col. 11, ln 67; Col. 13, ln 3-39;
                                          Col. 15, ln 53 to Col. 16, 60; Col.
                                          17, ln 55 to Col. 18, ln 35; Col. 20,
                                          ln 4 to Col. 21, ln 38; Col. 22, ln
                                          14-39; Col. 24, ln 39 to Col. 25, ln
                                          23; Col. 27, ln 48 to Col. 28, ln 6;
                                          Col. 31, ln 11-19; Col. 33, ln 25 to
                                          Col. 34, ln 3; Col. 36, ln 12-36;
                                          Col. 37, ln 47-64; Col. 38, ln 36-
                                          50; FIGS. 1-10, 18, 21A-21E.

                                          Extrinsic Evidence:

                                          The Claim Construction Orders.

‘341: 1,     [determines if the event]    The Court has already construed          [determines if the event] is at least the second
13, 27, 32   has occurred previously in   the term “sales process.”                occurrence of the event in the same sales process
             the sales process            Defendants’ proposed term is             that pertains to the customer associated with the
                                          subsumed within and/or does not          event
                                          substantially differ from the term
                                          previously considered by the Court.      Defendant’s Evidence
                                          Thus, the proposed term should be
                                          given its prior construction:            Intrinsic Evidence:
                                          a process of selling goods or            ‘341 Patent
                                          services, including two or more          Col. 37, Lines 13-17; Col. 36, Lines 12-23; Figs.
                                          phases such as lead generation,          21A-21E; Col. 35, Lines 54-63
                                          time with customer, order
                                          management, and customer


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Represent           Claim Term
                                          Plaintiff’s Proposed Definition          Defendant’s Proposed Definition and Evidence
  ative
                                                   and Evidence
 Claims
                                         retention.

                                         Intrinsic Evidence:

                                         ’525 patent: Col. 1, ln 10 to Col. 2,
                                         ln. 16; Col. 3, ln 60-64; Col. 4, ln
                                         12-22; Col. 4, ln 52-57; Col. 5, ln
                                         7-12; Col. 5, ln 31-34; Col. 5, ln
                                         60-64; Col. 5, ln 65 to Col. 6, ln 2;
                                         Col. 19, ln 35-47; FIG. 1; FIGS.
                                         21A-21E.

                                         ’341 patent: Col. 2, ln 46, Col. 6, ln
                                         41; Col. 7, ln 50 to Col. 11, 67;
                                         Col. 23, ln 5 to Col. 25, ln 10; Col.
                                         28, ln 37 to Col. 29, ln 36; Col. 30,
                                         ln 20 to Col. 31, ln 20; Col. 32, ln
                                         65 to Col. 34, ln 55; Col. 36, ln 12
                                         to Col. 38, ln 62; FIGS. 1-10, 12,
                                         15A-15C, 18, 21A-21E.

                                         Extrinsic Evidence:

                                         The Claim Construction Orders.

‘341: 1,     event occurring within/in   The Court has already construed          an internal software or hardware activity that
13, 27, 32   the system                  the term “event occurring within         corresponds to an event in the sales process
                                         the system / event occurring in the
                                         system.” Defendants’ proposed            Defendant’s Evidence
                                         term is subsumed within and/or


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Represent          Claim Term
                                     Plaintiff’s Proposed Definition        Defendant’s Proposed Definition and Evidence
  ative
                                              and Evidence
 Claims
                                    does not substantially differ from     Extrinsic Evidence: Jerome Johnson Depo. Tr.
                                    the term previously considered by      (6.10.08) at 194.
                                    the Court. Thus, the proposed term
                                    should be given its prior              Intrinsic Evidence:
                                    construction:                          ‘341 Patent
                                    an operation of the software or        33:47-49
                                    hardware making up the sales
                                    system.

                                    Intrinsic Evidence:

                                    The use of the word “event”
                                    throughout the figures and
                                    specification of the ’525 patent and
                                    ’341 patent.

                                    Extrinsic Evidence:

                                    The Claim Construction Orders

‘341: 1,     an operation           No construction for this term is a function acting on data
13, 27, 32                          needed. If construed, it should be
                                    given its plain and ordinary Defendant’s Evidence
                                    meaning.
                                                                           Intrinsic Evidence:
                                    Intrinsic Evidence:                    ‘341 Patent
                                                                           Col. 35, Lines 54-63; Figs. 16-18; Fig. 19
                                    ’341 patent: Col. 12, ln. 13 to Col.
                                    13, ln. 2; Col 22, lns. 40-50; Col.
                                    31, ln. 34 to Col. 32, ln. 5; Col. 33,


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Represent          Claim Term
                                    Plaintiff’s Proposed Definition       Defendant’s Proposed Definition and Evidence
  ative
                                             and Evidence
 Claims
                                   ln. 65 to Col. 35, ln. 22; Col. 36,
                                   lns. 24-36; Col. 36, lns. 53-64;
                                   FIGS. 2. 6, 16-19

                                   Extrinsic Evidence:

                                   SFA presently does not offer any
                                   extrinsic evidence to support this
                                   construction.


‘341: 1,    task                   No construction for this term is      an action to be taken by a sales person or the sales
                                   needed. If construed, it should be    system at a later time
                                   given its plain and ordinary
                                   meaning.                              Defendant’s Evidence

                                   Intrinsic Evidence:                      Extrinsic Evidence:
                                                                            SFA’s Opposition to Motion for Summary
                                   ’341 patent: Col. 1, ln. 34 to Col. 2, Judgment of Invalidity (Case No. 6:07-cv-067-
                                   ln. 42; Col. 3, ln. 53 to Col. 4, ln. 3; LED), ECF No. 269
                                   Col. 4, ln. 64 to Col. 5, ln. 15; Col.
                                   6, lns. 16-34; Col. 7, ln. 50 to Col.    Intrinsic Evidence:
                                   8, ln. 33; Col. 10, lns. 11-46; Col.     ‘341 Patent
                                   18, ln. 61 to Col 19, ln. 5; Col 20,     Col. 34, Lines 1-3; Col. 32, Lines 39-47
                                   lns. 4-26; Col. 22, lns. 40-50; Col.
                                   23, lns. 18 to 54; Col. 24, lns. 8-25;
                                   Col. 26, lns. 25-53; Col. 33, ln. 47
                                   to Col. 34, ln. 3; FIGS. 1, 4, 6, 7, 9,
                                   18



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Represent           Claim Term
                                         Plaintiff’s Proposed Definition         Defendant’s Proposed Definition and Evidence
  ative
                                                  and Evidence
 Claims
                                        Extrinsic Evidence:

                                        SFA presently does not offer any
                                        extrinsic evidence to support this
                                        construction.

‘341: 1,     updates another event or   The Court has already construed         accesses another subsystem to create, add, delete, or
13, 27, 32   task in at least another   the term “plurality of subsystems.”     change information pertaining to another event or
             subsystem                  Defendant’s proposed term is            task
                                        subsumed within and/or does not
                                        substantially differ from the term      Defendant’s Evidence
                                        previously considered by the Court.
                                        Thus, the proposed term should be       Intrinsic Evidence:
                                        given its prior construction and no     ‘341 Patent
                                        further construction for this term is   Col. 32, Lines 34-47
                                        needed.

                                        With respect to “updates another
                                        event or task in at least another,”
                                        no construction is needed. If
                                        construed, this language should be
                                        given its plain and ordinary
                                        meaning.

                                        Intrinsic Evidence:

                                        ’525 patent: Col. 1, ln 10 to Col. 2,
                                        ln. 16; Col. 3, ln 60-64; Col. 4, ln
                                        12-22; Col. 4, ln 52-57; Col. 5, ln
                                        7-12; Col. 5, ln 31-34; Col. 5, ln


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Represent          Claim Term
                                              Plaintiff’s Proposed Definition          Defendant’s Proposed Definition and Evidence
  ative
                                                       and Evidence
 Claims
                                             60-64; Col. 5, ln 65 to Col. 6, ln 2;
                                             Col. 19, ln 35-47; FIG. 1; FIGS.
                                             21A-21E.

                                             ’341 patent: Col. 2, ln 46, Col. 6, ln
                                             41; Col. 7, ln 50 to Col. 11, 67;
                                             Col. 23, ln 5 to Col. 25, ln 10; Col.
                                             28, ln 37 to Col. 29, ln 36; Col. 30,
                                             ln 20 to Col. 31, ln 20; Col. 32, ln
                                             65 to Col. 34, ln 55; Col. 36, ln 12
                                             to Col. 38, ln 62; FIGS. 1-10, 12,
                                             15A-15C, 18, 21A-21E.

                                             Extrinsic Evidence:

                                             The Claim Construction Orders.

‘341: 4,    a first memory storing a         No construction for this term is         a database of stored rules functionally separate
19, 32      plurality of rules / storing a   needed. If construed, it should be       from the event manager
            plurality of rules in            given its plain and ordinary
            memory                           meaning.                                 a rule is a statement in the form of boolean logic
                                                                                      (e.g., “if x, then y”), which prescribes that on the
                                                                                      occurrence of a particular event, another event or
                                                                                      action is initiated

                                                                                      Defendant’s Evidence

                                                                                      Extrinsic Evidence: Jerome Johnson Depo. Tr.
                                                                                      (6.10.08) at 178-183, 220-223.



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Represent         Claim Term
                                    Plaintiff’s Proposed Definition         Defendant’s Proposed Definition and Evidence
  ative
                                             and Evidence
 Claims
                                                                           Intrinsic Evidence:
                                                                           ‘341 Patent
                                                                           Col. 26, Lines 54-64; Col. 37, Lines 31-46; Figs. 2,
                                                                           10A; Col. 35, Lines 45-53; Col. 36, Lines 24-36




‘525: 6     time with customer     The Court has already construed         a subsystem that assists a salesperson in converting
            subsystem              the term “plurality of subsystems.”     a lead into a buying customer, and that stores
‘341: 6
                                   Defendant’s proposed term is            information about the amount of time a salesperson
                                   subsumed within and/or does not         spends with a customer
                                   substantially differ from the term
                                   previously considered by the Court.     Defendant’s Evidence
                                   Thus, the proposed term should be
                                   given its prior construction and no     Extrinsic Evidence:
                                   further construction for this term is   SFA’s Opposition to Motion for Summary
                                   needed.                                 Judgment of Invalidity (Case No. 6:07-cv-067-
                                                                           LED), ECF No. 269
                                   With respect to “time with
                                   customer,” no construction is           Intrinsic Evidence:
                                   needed. If construed, this language     ‘341 Patent
                                   should be given its plain and           Col. 8, Lines 43-68; Col. 9, Lines 14-19


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Represent            Claim Term
                                    Plaintiff’s Proposed Definition          Defendant’s Proposed Definition and Evidence
  ative
                                             and Evidence
 Claims
                                   ordinary meaning.
                                                                            Prosecution History
                                   Intrinsic Evidence:                      11/537,953 App., 06-11-08 Amendment (e.g., p. 9)
                                                                            11/537,953 App., 02-20-09 Amendment (e.g., p.
                                   ’525 patent: Col. 1, ln 10 to Col. 2,    10)
                                   ln. 16; Col. 3, ln 60-64; Col. 4, ln
                                   12-22; Col. 4, ln 52-57; Col. 5, ln
                                   7-12; Col. 5, ln 31-34; Col. 5, ln
                                   60-64; Col. 5, ln 65 to Col. 6, ln 2;
                                   Col. 19, ln 35-47; FIG. 1; FIGS.
                                   21A-21E.

                                   ’341 patent: Col. 2, ln 46, Col. 6, ln
                                   41; Col. 7, ln 50 to Col. 11, 67;
                                   Col. 23, ln 5 to Col. 25, ln 10; Col.
                                   28, ln 37 to Col. 29, ln 36; Col. 30,
                                   ln 20 to Col. 31, ln 20; Col. 32, ln
                                   65 to Col. 34, ln 55; Col. 36, ln 12
                                   to Col. 38, ln 62; FIGS. 1-10, 12,
                                   15A-15C, 18, 21A-21E.

                                   Extrinsic Evidence:

                                   The Claim Construction Orders.

‘525: 6     a lead                 No construction for this term is         an individual determined to be a potential customer
                                   needed. If construed, it should be       based on previously obtained information relating
‘341: 6
                                   given its plain and ordinary             to the individual’s identity, prior purchases, and
                                   meaning.                                 product interests



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Represent         Claim Term
                                   Plaintiff’s Proposed Definition       Defendant’s Proposed Definition and Evidence
  ative
                                            and Evidence
 Claims
                                                                        Defendant’s Evidence

                                                                        Extrinsic Evidence:
                                                                        Jerome Johnson Depo. Tr. (6.10.08) at 226-227. See
                                                                        Exhibit A.

                                                                        Intrinsic Evidence:
                                                                        ‘341 Patent
                                                                        Col. 8, Lines 43-68, Col. 8, Lines 11-34; Col. 9,
                                                                        Lines 14-19




‘525: 6     order management      The Court has already construed       a subsystem that assists a salesperson to manage
            subsystem             the term “plurality of subsystems.”   changes and prompt salesperson communications
‘341: 6
                                  Defendant’s proposed term is          regarding the ordering, processing, building,
                                  subsumed within and/or does not       manufacturing, delivering, etc. of a product or
                                  substantially differ from the term    service
                                  previously considered by the Court.
                                  Thus, the proposed term should be     Defendant’s Evidence


                                                       25
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Represent      Claim Term
                                  Plaintiff’s Proposed Definition          Defendant’s Proposed Definition and Evidence
  ative
                                           and Evidence
 Claims
                                 given its prior construction and no
                                 further construction for this term is    Extrinsic Evidence:
                                 needed.                                  SFA’s Opposition to Motion for Summary
                                                                          Judgment of Invalidity (Case No. 6:07-cv-067-
                                 With respect to “order                   LED), ECF No. 269
                                 management,” no construction is
                                 needed. If construed, this language      Intrinsic Evidence:
                                 should be given its plain and            ‘341 Patent
                                 ordinary meaning.                        Col. 9, Lines 20-49

                                 Intrinsic Evidence:

                                 ’525 patent: Col. 1, ln 10 to Col. 2,
                                 ln. 16; Col. 3, ln 60-64; Col. 4, ln
                                 12-22; Col. 4, ln 52-57; Col. 5, ln
                                 7-12; Col. 5, ln 31-34; Col. 5, ln
                                 60-64; Col. 5, ln 65 to Col. 6, ln 2;
                                 Col. 19, ln 35-47; FIG. 1; FIGS.
                                 21A-21E.

                                 ’341 patent: Col. 2, ln 46, Col. 6, ln
                                 41; Col. 7, ln 50 to Col. 11, 67;
                                 Col. 23, ln 5 to Col. 25, ln 10; Col.
                                 28, ln 37 to Col. 29, ln 36; Col. 30,
                                 ln 20 to Col. 31, ln 20; Col. 32, ln
                                 65 to Col. 34, ln 55; Col. 36, ln 12
                                 to Col. 38, ln 62; FIGS. 1-10, 12,
                                 15A-15C, 18, 21A-21E.

                                 Extrinsic Evidence:


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Represent          Claim Term
                                    Plaintiff’s Proposed Definition         Defendant’s Proposed Definition and Evidence
  ative
                                             and Evidence
 Claims

                                   The Claim Construction Orders.

‘341: 4,    a particular context   The Court has already construed         a specific circumstance in which an event could
19, 32                             the term “context.” Defendants’         occur
                                   proposed term is subsumed within
                                   and/or does not substantially differ    Defendant’s Evidence
                                   from the term previously
                                   considered by the Court. Thus, the      Extrinsic Evidence:
                                   proposed term should be given its       American Heritage College Dictionary, 3rd Ed.
                                   prior construction and no further       (1997), at 301
                                   construction for this term is
                                   needed.                                 Intrinsic Evidence:
                                                                           ‘341 Patent
                                   Intrinsic Evidence:                     Col. 33, Lines 25-35

                                   ’525 patent: Col. 2, ln 21-43; Col.
                                   8, ln 34-44; Col. 18, ln 37-54; Col.
                                   19, ln 15-25; FIGS. 6, 8.

                                   ’341 patent: Col. 4, lns. 10-18; Col.
                                   5, lns. 36-43; Col. 6, lns. 16-32;
                                   Col. 12, lns. 13-22; Col. 21, ln. 64
                                   to Col. 22, ln. 50; Col. 33, lns. 25-
                                   35; Col. 35, ln. 64 to Col. 36, ln.
                                   11; FIGS. 2, 5, 6, 18, 19.

                                   Extrinsic Evidence:

                                   The Claim Construction Orders.


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Represent           Claim Term
                                              Plaintiff’s Proposed Definition       Defendant’s Proposed Definition and Evidence
  ative
                                                       and Evidence
 Claims

‘341: 19,   the inferred context             The Court has already construed      Indefinite
27, 32                                       the terms “context” and “infer[ring]
                                             … a context.” Defendant’s
                                             proposed term is subsumed within
                                             and/or does not substantially differ
                                             from the terms previously
                                             considered by the Court.

                                             In light of the Court’s prior
                                             construction, no further
                                             construction for this term is
                                             needed. If construed, any word in
                                             the proposed term not previously
                                             construed should be given its plain
                                             and ordinary meaning.

                                             Extrinsic Evidence:

                                             The Claim Construction Orders.

‘341: 27    [an event manager . . .          No construction for this term is      [an event manager . . . configured to . . . ] retrieve
            configured to . . . ] link the   needed. If construed, it should be    and apply a rule stored in a database to associate an
            event with an action             given its plain and ordinary          action with the event
                                             meaning.
                                                                                   Intrinsic Evidence:
                                                                                   ‘341 Patent
                                                                                   Col. 35, Lines 45-53; Col. 37, Lines 31-44; Col. 34,
                                                                                   Lines 14-16, 39-55; Col. 26, Lines 24-36



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Represent           Claim Term
                                              Plaintiff’s Proposed Definition        Defendant’s Proposed Definition and Evidence
  ative
                                                       and Evidence
 Claims
‘341: 27    based on prior sales             No construction for this term is       using customer information already existing within
            experience                       needed. If construed, it should be     a database to inform the event manager as to which
                                             given its plain and ordinary           rule to apply
                                             meaning.
                                                                                    Defendant’s Evidence

                                                                                    Intrinsic Evidence:
                                                                                    ‘341 Patent
                                                                                    Col. 36, Line 65 – Col. 38 Line 20

‘314: 13,   the method comprising:           No construction for this term is       The steps must be performed in the order written in
32          providing . . .;                 needed. If construed, it should be     the claims.
            electronically and               given its plain and ordinary
            automatically detecting . .      meaning. With regard to the order      Defendant’s Evidence
            .; electronically and            of the steps, no particular order is
            automatically initiating . . .   required by the claims.                Extrinsic Evidence:
                                                                                    Joint Claim Construction and Prehearing Statement
                                                                                    (Case 6:09-cv-00340-LED), Dkt. No. 247




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